Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 1 of 200




              EXHIBIT 1
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 2 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 3 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 4 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 5 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 6 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 7 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 8 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 9 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 10 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 11 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 12 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 13 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 14 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 15 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 16 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 17 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 18 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 19 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 20 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 21 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 22 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 23 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 24 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 25 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 26 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 27 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 28 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 29 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 30 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 31 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 32 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 33 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 34 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 35 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 36 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 37 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 38 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 39 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 40 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 41 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 42 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 43 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 44 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 45 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 46 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 47 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 48 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 49 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 50 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 51 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 52 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 53 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 54 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 55 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 56 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 57 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 58 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 59 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 60 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 61 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 62 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 63 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 64 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 65 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 66 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 67 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 68 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 69 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 70 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 71 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 72 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 73 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 74 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 75 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 76 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 77 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 78 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 79 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 80 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 81 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 82 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 83 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 84 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 85 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 86 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 87 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 88 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 89 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 90 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 91 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 92 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 93 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 94 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 95 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 96 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 97 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 98 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 99 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 100 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 101 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 102 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 103 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 104 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 105 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 106 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 107 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 108 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 109 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 110 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 111 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 112 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 113 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 114 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 115 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 116 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 117 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 118 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 119 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 120 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 121 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 122 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 123 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 124 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 125 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 126 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 127 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 128 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 129 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 130 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 131 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 132 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 133 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 134 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 135 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 136 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 137 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 138 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 139 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 140 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 141 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 142 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 143 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 144 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 145 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 146 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 147 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 148 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 149 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 150 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 151 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 152 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 153 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 154 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 155 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 156 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 157 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 158 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 159 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 160 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 161 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 162 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 163 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 164 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 165 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 166 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 167 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 168 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 169 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 170 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 171 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 172 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 173 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 174 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 175 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 176 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 177 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 178 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 179 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 180 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 181 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 182 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 183 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 184 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 185 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 186 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 187 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 188 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 189 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 190 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 191 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 192 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 193 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 194 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 195 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 196 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 197 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 198 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 199 of 200
Case 1:22-cv-00394-CM-JW Document 1-4 Filed 01/14/22 Page 200 of 200
